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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

 UNITED STATES OF AMERICA                        §
                                                 §
 v.                                              §     NO. 4:19-CR-309
                                                 §     Judge Mazzant / Judge Johnson
                                                 §
 MAXINE JULIETTE MITCHELL (3)                    §


                              NOTICE OF PLEA AGREEMENT

 Now Comes the United States of America by and through its United States Attorney and

 would show the Court that the Defendant, MAXINE JULIETTE MITCHELL, and the

 Government have entered into a plea in relation to the charges now pending before this

 Court.

                                             Respectfully submitted,
                                             JOSEPH D. BROWN
                                             UNITED STATES ATTORNEY

                                              /s/ Matthew T. Johnson
                                              MATTHEW T. JOHNSON
                                              Assistant United States Attorney
                                              600 East Taylor, Suite 2000
                                              Sherman, Texas 75090
                                              Texas Bar No. 24060033
                                              Telephone: 903/868-9454
                                              Facsimile: 903/892-2792
                                              Matthew.Johnson@usdoj.gov


                                 CERTIFICATE OF SERVICE

          I hereby certify that a true and correct copy of the foregoing was filed on this the
 13th day of April, 2020, and defense counsel was notified by electronic notification.
                                              /s/ Matthew T. Johnson
                                              MATTHEW T. JOHNSON
